 Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17   PageID.1   Page 1 of 16




               UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF MICHIGAN
____________________________________

EZRA ZABAWA,
                                              Honorable
       Plaintiff,
                                              Case No:
v.

MICHIGAN DEPARTMENT
OF HEALTH AND HUMAN SERVICES;
and NICK LYON, Director of Michigan
Department of Health and Human Services
in his official capacity,

    Defendants.
_____________________________________

MICHIGAN PROTECTION & ADVOCACY SERVICE, INC.
Mark A. Cody (P42695)
Sherry McGrath (P72817)
Attorneys for Plaintiffs
4095 Legacy Parkway, Suite 500
Lansing, MI 48911
(517) 487-1755
mcody@mpas.org
smcgrath@mpas.org
______________________________________


     COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF




                                     1
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17      PageID.2   Page 2 of 16




      Plaintiff, Ezra Zabawa, brings this action to redress Defendants’

violations of Plaintiff’s right to medically necessary private duty nursing

services. In support of this Complaint, Plaintiff alleges as follows:


                  I.    JURISDICTION AND VENUE

1.    Plaintiff asserts civil claims pursuant to Title II of the Americans with

      Disabilities Act (“ADA”), 42 U.S.C. § 12132 et seq.; Section 504 of the

      Rehabilitation Act of 1973, 29 U.S.C. § 794; and the Social Security

      Act, 42 U.S.C. § 1396 et seq. (“Medicaid Act”).

2.    In addition, Plaintiff asserts a civil claim authorized by 42 U.S.C. § 1983

      to redress the deprivation of Plaintiff’s rights guaranteed by the

      Medicaid Act.

3.    This Court has federal question jurisdiction over Plaintiff’s claims

      pursuant 28 U.S.C. §§ 1331 and 1343.

4.    Plaintiff’s claims are properly brought in this venue and district

      pursuant to 28 U.S.C. § 1391(b), because the acts and omissions

      giving rise to the claims occurred in Oakland County or Monroe

      County, Michigan.




                                       2
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17      PageID.3   Page 3 of 16




                               II.    PARTIES


5.    Plaintiff, Ezra Zabawa, age 19, has been diagnosed with congenital

      muscular dystrophy and nocturnal hypoventilation. Ezra is eligible for

      Medicaid-funded services, including the services authorized by the

      Early Periodic Screening, Diagnostic, and Treatment (“EPSDT”)

      provisions of the Medicaid Act, 42 U.S.C. § 1396d(r)(5).

6.    Ezra is a qualified individual with a disability within the meaning of the

      ADA and the Rehabilitation Act.

7.    Ezra has substantial functional limitations in self-care, mobility, and the

      capacity for independent living within the meaning of MCL §

      330.1100a(25).

8.    Ezra is capable of living in the community with support services. He

      has chosen to live in his family’s home, with Medicaid support services.

9.    Defendant, Michigan Department of Health and Human Services

      (“MDHHS”), is the single state agency responsible for administering

      and implementing Michigan's Medicaid program.

10.   Defendant, Nick Lyon, is the Director of MDHHS.




                                       3
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17    PageID.4   Page 4 of 16




11.   As Director, Nick Lyon is responsible for ensuring that Michigan's

      Medicaid program is administered and implemented in accordance

      with the requirements of federal law.

12.   At all times relevant to this action, Defendant Lyon has acted under

      color of state law.

                      III.   Applicable Statutory Provisions

A.    The EPSDT Medicaid Program in Michigan

13.   Plaintiff incorporates by reference paragraphs 1 through 12 as if fully

      set forth herein.

14.   The Medicaid program is jointly funded by the state and federal

      governments in accordance with Title XIX of the Social Security Act.

15.   Michigan must operate and administer its Medicaid program in

      compliance with federal Medicaid statutes and regulations.

16.   Under federal law, Defendants are mandated to provide EPSDT

      services to Ezra without any delay caused by Defendants’ procedures.

      42 C.F.R. § 435.930(a).

17.   The EPSDT provisions require Defendants to provide Ezra with

      services that are medically necessary to correct or ameliorate Ezra’s

      health conditions. The required services include private duty nursing to

      maintain Ezra’s current health.

                                        4
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17       PageID.5   Page 5 of 16




B.    The Americans with Disabilities Act (ADA)

18.   Title II of the ADA provides that "no qualified individual with a disability

      shall, by reason of such disability, be excluded from participation in or

      be denied the benefits of the services, programs, or activities of a

      public entity, or be subjected to discrimination by any such entity." 42

      U.S.C. § 12132.

19.   Title II's implementing regulations require that “[a] public entity shall

      administer services, programs, and activities in the most integrated

      setting appropriate to the needs of qualified individuals with

      disabilities.” 28 C.F.R. § 35.130(d).

20.   Segregation from the community, and unjustified institutionalization

      both constitute discrimination prohibited by Title II.

C.    Section 504 of the Rehabilitation Act

21.   Section 504 of the Rehabilitation Act prohibits discrimination against

      individuals with disabilities under any program or activity receiving

      federal financial assistance. 29 U.S.C. § 794(a).

22.   Defendant, MDHHS, receives federal financial assistance for the

      Medicaid EPSDT program.




                                        5
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17     PageID.6   Page 6 of 16




23.   The Rehabilitation Act’s implementing regulations require Defendants

      to "administer programs and activities in the most integrated setting

      appropriate . . . ." 28 C.F.R. § 41.51(d).

24.   The implementing regulations prohibit Defendants from directly, or

      through other arrangements, utilizing criteria or methods of

      administration that effectively subject individuals with disabilities to

      discrimination on the basis of their disabilities. 28 C.F.R. §

      41.51(b)(1)(vii)(3).

                                     IV.     Facts

25.   Plaintiff incorporates by reference paragraphs 1 through 24 as if fully

      set forth herein.

26.   Muscular dystrophy is causing progressive weakening of Ezra’s

      muscles.    He cannot walk.          He can move his arms and hands

      minimally. He needs assistance with all activities of daily living.

27.   Specifically, muscular dystrophy has attacked the muscles that Ezra

      uses to swallow and to breath.           Accordingly, Ezra must use a

      gastronomy tube for daily nutrition. In addition, to be able to breathe

      at night, Ezra must use a pressure ventilator with a face mask. Ezra

      also uses the ventilator during the day when needed to maintain his

      pulmonary health.

                                       6
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17      PageID.7    Page 7 of 16




28.   If Ezra aspirates fluid into his lungs, he is unable to clear the fluid, and

      he could suffocate and die. The ventilator face mask increases this

      aspiration risk.

29.   Ezra requires skilled nursing care to assess his pulmonary function,

      evaluate him for any aspiration, implement emergency plans, and

      maintain his pulmonary health. During every shift, skilled nursing staff

      must determine what interventions are necessary, and must perform

      those interventions to maintain Ezra’s health.

30.   As of November 28, 2016, Ezra’s treating physician had authorized up

      to 372 monthly hours of private duty nursing for Ezra. For a 31-day

      month, this authorization amounted to an average of 12 hours of

      private duty nursing each day.

31.   As of November 28, 2016, Ezra’s treating physician ordered that skilled

      nursing staff must maintain Ezra’s oxygen saturation level at 93% or

      higher. The physician ordered that he is to be notified whenever Ezra’s

      oxygen saturation level drops for more than 20 minutes.

32.   The treating physician’s order requires that the skilled nurses keep an

      emergency ventilator within their reach for Ezra at all times.

33.   Because Ezra has very limited mobility, he is at risk of skin

      breakdowns. He requires skilled nursing care to evaluate and treat him

                                        7
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17   PageID.8   Page 8 of 16




      for all skin breakdowns.    He also requires skilled nursing care to

      manage and assess his gastronomy tube feedings.

34.   As of November 28, 2016, the treating physician categorized Ezra’s

      prognosis as “fair.”

35.   On January 9, 2017, Ezra’s treating physician confirmed the same

      orders he had previously issued, including 372 monthly hours of private

      duty nursing, tube feedings, treatment for skin breakdowns

      maintenance of oxygen saturation levels, and notification of the

      physician anytime Ezra’s oxygen saturation dropped for more than 20

      minutes.

36.   On January 9, 2017, Ezra’s treating physician again categorized Ezra’s

      prognosis as “fair.”

37.   For at least the past five years, Defendant, MDHHS, had authorized 12

      hours of private duty nursing per day for Ezra, through the Michigan

      Medicaid program. The authorization provided one nurse for 12 hours

      daily, who provided services to Ezra and to Ezra’s older brother, who

      also has muscular dystrophy.

38.   From November 28, 2016 through the date of filing of this Complaint,

      there has been no improvement in Ezra’s medical condition. Given the




                                     8
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17     PageID.9   Page 9 of 16




      progressive nature of muscular dystrophy, no improvement in Ezra’s

      condition is anticipated.

39.   On February 21, 2017, Defendant, MDHHS, notified Ezra and his

      brother that as of May 1, 2017, their private duty nursing services would

      end.

40.   According to the notification issued by Defendant MDHHS, Defendant

      terminated Ezra’s private duty nursing services on the ground that Ezra

      “does not meet PDN [private duty nursing] criteria, has had no

      hospitalizations, uses BIPAP [ventilator] only at night, and has sixty

      (60) hours of CLS [community living support] services per week.”

41.   The notification issued by Defendant MDHHS referenced three

      sections of the MDHHS Medicaid Provider Manual section regarding

      Private Duty Nursing: Sections 1.7, 2.3, and 2.6. These sections

      categorize private duty nursing services as a “transitional benefit.”

42.   Ezra and his brother each filed administrative appeals to retain their

      previously authorized private duty nursing services.         During the

      pendency of the administrative appeals, Defendant MDHHS provided

      Ezra with private duty nursing services.




                                      9
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17   PageID.10   Page 10 of 16




43.   During the pendency of the administrative appeals, Ezra’s brother

      turned age 21. Ezra’s brother is now seeking private duty nursing

      services through a separate program.

44.   On August 14, 2017, Ezra received notice that his administrative

      appeal had been denied.

45.   Defendant MDHHS has notified Ezra that as of midnight on August 31,

      2017, he will receive no further private duty nursing services.

                              V.    LEGAL CLAIMS

  Count I: 42 U.S.C. §1983 action for violation of Ezra’s EPSDT rights

46.   Plaintiff incorporates by reference paragraphs 1 through 45 as if fully

      set forth herein.

47.   Ezra’s right to receive private duty nursing is secured by the laws of

      the United States, including, but not limited to, the Medicaid Act, 42

      U.S.C. § 1396 et seq.

48.   Defendants’ application of the Michigan private duty nursing criteria

      has deprived Ezra of his right to private duty nursing services.

49.   Defendants’ classification of private duty nursing as a “transitional

      benefit” is directly contrary to the provisions of the EPSDT.




                                      10
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17   PageID.11   Page 11 of 16




50.   Defendants’ failure to continue Ezra’s private duty nursing services

      violates the EPSDT mandate, which requires that Defendants provide

      Ezra with all medically necessary services to ameliorate his condition.

51.   There has been no change in Ezra’s condition to warrant termination

      of private duty nursing services.

52.   Ezra has not been weaned from his use of a ventilator, and there is no

      expectation that Ezra will be weaned from the use of a ventilator.

53.   There has been no change in Ezra’s living situation to warrant

      termination of private duty nursing services.

54.   Any cessation or delay in the provision of private duty nursing services

      may result in Ezra having an acute episode of aspiration, which could

      cause him to suffocate and die.

55.   Defendants have failed to continue the private duty nursing services

      that are essential to maintain Ezra’s health.

56.   Defendants’ failure to continue the private duty nursing services places

      Ezra at serious risk of harm, including the risk of hospitalization and

      death.




                                     11
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17      PageID.12   Page 12 of 16




  Count II: Violation of Title II of the Americans with Disabilities Act
                                    (ADA)

57.   Plaintiff incorporates by reference paragraphs 1 through 56 as if fully

      set forth herein.

58.   Defendant MDHHS is a public entity within the meaning of Title II of

      the ADA.

59.   Defendant Lyon, acting in his official capacity, is a public entity or

      official within the meaning of Title II of the ADA.

60.   Defendants’ failure to continue private duty nursing services has

      placed Ezra at imminent risk of harm, and at serious risk of

      institutionalization.

61.   By failing to continue private duty nursing services, Defendants have

      violated and are violating Title II of the ADA by failing to provide

      meaningful alternatives to institutionalization.

62.   Providing Ezra with timely access to private duty nursing services

      would not fundamentally alter the Defendants’ service system.

63.   Defendants’ decision to terminate Ezra’s private duty nursing services

      constitutes discrimination within the meaning of Title II of the ADA.

64.   As a direct and proximate result of Defendants’ discrimination, Ezra is

      at serious risk of institutionalization.



                                        12
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17     PageID.13   Page 13 of 16




65.   Absent injunctive relief to require Defendants to continue Ezra’s private

      duty nursing services, Ezra will sustain injuries and damages.

 Count III: Violation of Section 504 of the Rehabilitation Act of 1973.

66.   Plaintiff incorporates by reference paragraphs 1 through 65 as if fully

      set forth herein.

67.   Ezra is qualified to participate in Medicaid with or without reasonable

      modifications to Defendants' rules, policies, or practices.

68.   Defendants have violated and are violating Section 504 of the

      Rehabilitation Act of 1973 and its implementing regulations by using

      methods of administration that substantially impede the mandates of

      the Medicaid program.

69.   This violation includes, but is not limited to, Defendants’ failure to

      continue medically necessary Medicaid services for Ezra.

70.   Defendants’ administration and management of the Medicaid program

      places Ezra at serious risk of institutionalization.

71.   Defendants have violated and are violating Section 504 of the

      Rehabilitation Act of 1973 and its implementing regulations by

      administering, funding, and operating their service system in a manner

      that fails to make services available in a timely manner and able in the

      most integrated setting appropriate to Ezra’s needs.

                                       13
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17     PageID.14   Page 14 of 16




72.     Providing Ezra with timely access to private duty nursing services will

        not fundamentally alter the Defendants' service system, because the

        federal laws already mandate that private duty nursing services be

        provided.

73.     As a direct and proximate result of Defendants' discrimination, Ezra is

        at serious risk of institutionalization.

74.     Absent injunctive relief to require Defendants to continue Ezra’s private

        duty nursing services, Ezra will sustain injuries and damages.


      Count IV: Violation of the Social Security Act Title XIX's EPSDT
                                 provisions.

75.     Plaintiff incorporates by reference paragraphs 1 through 74 as if fully

        set forth herein.

76.     Ezra is a Medicaid beneficiary authorized to Medicaid-funded services

        that his treating physician has determined to be medically necessary

        to correct or ameliorate Ezra’s condition.

77.     Ezra is entitled to these medically necessary services under 42 U.S.C.

        §1396d(r).

78.     Defendants have failed to provide medically necessary EPSDT

        services in violation of 42 U.S.C. § 1396 et seq.




                                          14
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17      PageID.15   Page 15 of 16




79.   Absent injunctive relief to remedy Defendants’ violation of the EPSDT

      provisions, Ezra will suffer irreparable injury.

                            REQUESTED RELIEF

Wherefore, Plaintiff respectfully requests this Court to:

A.    Declare Defendants violated and are violating Ezra’s rights under

      Section 504 of the Rehabilitation Act and Title II of the ADA.

B.    Declare that Defendants have violated and are violating Ezra’s rights

      under the Medicaid Act’s EPSDT provisions.

C.    Order Defendants to authorize private duty nursing services for Ezra,

      and impose penalties upon Defendants for any failure to comply with

      that order.

D.    Enter a judgment against Defendants in an amount consistent with

      damages sustained.

E.    Grant attorney’s fees and costs.

F.    Grant all other necessary and appropriate relief.




                                       15
Case 2:17-cv-12881-SFC-SDD ECF No. 1 filed 08/31/17   PageID.16   Page 16 of 16




                                   Respectfully submitted,




Dated: August 31, 2017             By: /s/ Sherry McGrath
                                     Michigan Protection and Advocacy
                                     Service, Inc.
                                     Mark A. Cody (P42695)
                                     Sherry McGrath (P72817)
                                     Attorneys for Appellant
                                     4095 Legacy Parkway, Suite 500
                                     Lansing, MI 48911-4263
                                     Phone: (517) 487-1755




                                     16
